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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION

AIMEE WAHLERS,               )
                             )
                 Plaintiff,  )
                             )
v.                           )               Cause No. 4:19-cv-03064-SRC
                             )
NATHANIEL HENDREN, ET AL.,   )
                             )
                 Defendants. )

   RESPONSE TO DEFENDANT CITY OF ST. LOUIS’ MOTION TO DISMISS

      COMES NOW Defendant Nathaniel Hendren, by and through his

undersigned counsel, and pursuant to this Court’s order dated January 22, 2020

(DCD_29), states that he takes no position on Defendant City of St. Louis’ pending

motion to dismiss (DCD_ 15).



                                             Respectfully submitted,

                                             NEWTON BARTH, L.L.P




                                      By:
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                            CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on information and belief a copy of the

foregoing was electronically filed with the court and served upon all parties of

record via the court’s e-filing system on this 29th day of January, 2020.




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